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Attorneys for Plaintiff

                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

     UNITED STATES OF AMERICA,                ) No. 3:19-cr-00114-JMK-MMS
                                              )
                          Plaintiff,          )
                                              )
           vs.                                )
                                              )
     REY JOEL SOTO-LOPEZ,                     )
                                              )
                          Defendant.          )
                                              )

     UNITED STATES’ RESPONSE NON-OPPOSING MOTION FOR LEAVE TO
                             FILE REPLY

        The United States does not oppose defendant Rey Soto-Lopez’s motion for leave

to file a reply regarding his second motion to suppress.

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      RESPECTFULLY SUBMITTED January 7, 2021, in Anchorage, Alaska.

                                                BRYAN SCHRODER
                                                United States Attorney

                                                s/ Allison O’Leary
                                                ALLISON O’LEARY
                                                Assistant U.S. Attorney
                                                United States of America


CERTIFICATE OF SERVICE

I hereby certify that on January 7, 2021 a true and correct copy of the foregoing was
served electronically on the following:

Gary Colbath, Assistant Federal Public Defender

s/ Allison O’Leary
Office of the U.S. Attorney




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